Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 1 of 18 PageID# 619
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 2 of 18 PageID# 620
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 3 of 18 PageID# 621
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 4 of 18 PageID# 622
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 5 of 18 PageID# 623
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 6 of 18 PageID# 624
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 7 of 18 PageID# 625
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 8 of 18 PageID# 626
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 9 of 18 PageID# 627
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 10 of 18 PageID# 628
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 11 of 18 PageID# 629
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 12 of 18 PageID# 630
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 13 of 18 PageID# 631
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 14 of 18 PageID# 632
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 15 of 18 PageID# 633
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 16 of 18 PageID# 634
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 17 of 18 PageID# 635
Case 1:17-cv-01290-RDA-JFA Document 77 Filed 01/08/20 Page 18 of 18 PageID# 636
